                          Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 1 of 9

                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                         MAY 9 2025
                                                                                   MOLLY C. DWYER, CLERK
                                                                                    U.S. COURT OF APPEALS

                  PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


       Docket Number:           25-3030
       Originating Case Number: 3:25-cv-03698-SI

       Short Title:                  American Federation Of Government Employees, AFL-CIO,
                                     et al. v. Trump, et al.

      Dear Appellant/Counsel


      Your notice of appeal has been received in the Clerk's office of the United States Court of
      Appeals for the Ninth Circuit. The U.S. Court of Appeals docket number shown above
      has been assigned to this case. You must indicate this Court of Appeals docket number
      whenever you communicate with this court regarding this case.

      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.

      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.

      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity; (2) is a bankruptcy case; (3) is a criminal case
      involving an organizational victim; or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.
                  Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 2 of 9

Failure of the appellant(s) to comply with the time schedule order will result in
dismissal of the appeal.

Please read the enclosure materials carefully.
                         Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 3 of 9

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court



                  PRELIMINARY INJUNCTION TIME SCHEDULE NOTICE


        Docket Number:           25-3030
        Originating Case Number: 3:25-cv-03698-SI

        Case Title:                American Federation Of Government Employees,
                                   AFL-CIO, et al. v. Trump, et al.



        Wednesday, May 14, 2025
        Donald J. Trump                                    Mediation Questionnaire due
        Office of Management and Budget                    Mediation Questionnaire due
        Russell Vought                                     Mediation Questionnaire due
        United States Office of Personnel Management       Mediation Questionnaire due
        Charles Ezell                                      Mediation Questionnaire due
        United States Department of Government             Mediation Questionnaire due
        Efficiency
        Elon Musk                                          Mediation Questionnaire due
        Amy Gleason                                        Mediation Questionnaire due
        United States Department of Agriculture            Mediation Questionnaire due
        Brooke Rollins                                     Mediation Questionnaire due
        United States Department of Commerce               Mediation Questionnaire due
        Howard Lutnick                                     Mediation Questionnaire due
        United States Department of Defense                Mediation Questionnaire due
        Peter Hegseth                                      Mediation Questionnaire due
        United States Department of Energy                 Mediation Questionnaire due
        Chris Wright                                       Mediation Questionnaire due
                 Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 4 of 9

United States Department of Health and Human       Mediation Questionnaire due
Services
Robert F. Kennedy, Jr.                             Mediation Questionnaire due
United States Department of Homeland Security      Mediation Questionnaire due
Kristi Noem                                        Mediation Questionnaire due
United States Department of Housing and Urban      Mediation Questionnaire due
Development
Scott Turner                                       Mediation Questionnaire due
DOJ - United States Department of Justice          Mediation Questionnaire due
Pamela Bondi                                       Mediation Questionnaire due
United States Department of the Interior           Mediation Questionnaire due
Doug Burgum                                        Mediation Questionnaire due
United States Department of Labor                  Mediation Questionnaire due
Lori Chavez-DeRemer                                Mediation Questionnaire due
United States Department of State                  Mediation Questionnaire due
Marco Rubio                                        Mediation Questionnaire due
United States Department of the Treasury           Mediation Questionnaire due
Scott Bessent                                      Mediation Questionnaire due
United States Department of Transportation         Mediation Questionnaire due
Sean Duffy                                         Mediation Questionnaire due
United States Department of Veterans Affairs       Mediation Questionnaire due
Doug Collins                                       Mediation Questionnaire due
AmeriCorps                                         Mediation Questionnaire due
Jennifer Bastress Tahmasebi                        Mediation Questionnaire due
United States Environmental Protection Agency      Mediation Questionnaire due
Lee Zeldin                                         Mediation Questionnaire due
United States General Services Administration      Mediation Questionnaire due
Stephen Ehikian                                    Mediation Questionnaire due
National Labor Relations Board                     Mediation Questionnaire due
Marvin E. Kaplan                                   Mediation Questionnaire due
William Cowen                                      Mediation Questionnaire due
National Science Foundation                        Mediation Questionnaire due
Brian Stone                                        Mediation Questionnaire due
United States Small Business Administration        Mediation Questionnaire due
Kelly Loeffler                                     Mediation Questionnaire due
Social Security Administration                     Mediation Questionnaire due
                 Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 5 of 9

Leland Dudek                                       Mediation Questionnaire due

Friday, June 6, 2025
Donald J. Trump                                    Preliminary Injunction Opening
                                                   Brief Due
Office of Management and Budget                    Preliminary Injunction Opening
                                                   Brief Due
Russell Vought                                     Preliminary Injunction Opening
                                                   Brief Due
United States Office of Personnel Management       Preliminary Injunction Opening
                                                   Brief Due
Charles Ezell                                      Preliminary Injunction Opening
                                                   Brief Due
United States Department of Government             Preliminary Injunction Opening
Efficiency                                         Brief Due
Elon Musk                                          Preliminary Injunction Opening
                                                   Brief Due
Amy Gleason                                        Preliminary Injunction Opening
                                                   Brief Due
United States Department of Agriculture            Preliminary Injunction Opening
                                                   Brief Due
Brooke Rollins                                     Preliminary Injunction Opening
                                                   Brief Due
United States Department of Commerce               Preliminary Injunction Opening
                                                   Brief Due
Howard Lutnick                                     Preliminary Injunction Opening
                                                   Brief Due
United States Department of Defense                Preliminary Injunction Opening
                                                   Brief Due
Peter Hegseth                                      Preliminary Injunction Opening
                                                   Brief Due
United States Department of Energy                 Preliminary Injunction Opening
                                                   Brief Due
Chris Wright                                       Preliminary Injunction Opening
                                                   Brief Due
United States Department of Health and Human       Preliminary Injunction Opening
Services                                           Brief Due
                  Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 6 of 9

Robert F. Kennedy, Jr.                              Preliminary Injunction Opening
                                                    Brief Due
United States Department of Homeland Security       Preliminary Injunction Opening
                                                    Brief Due
Kristi Noem                                         Preliminary Injunction Opening
                                                    Brief Due
United States Department of Housing and Urban       Preliminary Injunction Opening
Development                                         Brief Due
Scott Turner                                        Preliminary Injunction Opening
                                                    Brief Due
DOJ - United States Department of Justice           Preliminary Injunction Opening
                                                    Brief Due
Pamela Bondi                                        Preliminary Injunction Opening
                                                    Brief Due
United States Department of the Interior            Preliminary Injunction Opening
                                                    Brief Due
Doug Burgum                                         Preliminary Injunction Opening
                                                    Brief Due
United States Department of Labor                   Preliminary Injunction Opening
                                                    Brief Due
Lori Chavez-DeRemer                                 Preliminary Injunction Opening
                                                    Brief Due
United States Department of State                   Preliminary Injunction Opening
                                                    Brief Due
Marco Rubio                                         Preliminary Injunction Opening
                                                    Brief Due
United States Department of the Treasury            Preliminary Injunction Opening
                                                    Brief Due
Scott Bessent                                       Preliminary Injunction Opening
                                                    Brief Due
United States Department of Transportation          Preliminary Injunction Opening
                                                    Brief Due
Sean Duffy                                          Preliminary Injunction Opening
                                                    Brief Due
United States Department of Veterans Affairs        Preliminary Injunction Opening
                                                    Brief Due
                   Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 7 of 9

Doug Collins                                         Preliminary Injunction Opening
                                                     Brief Due
AmeriCorps                                           Preliminary Injunction Opening
                                                     Brief Due
Jennifer Bastress Tahmasebi                          Preliminary Injunction Opening
                                                     Brief Due
United States Environmental Protection Agency        Preliminary Injunction Opening
                                                     Brief Due
Lee Zeldin                                           Preliminary Injunction Opening
                                                     Brief Due
United States General Services Administration        Preliminary Injunction Opening
                                                     Brief Due
Stephen Ehikian                                      Preliminary Injunction Opening
                                                     Brief Due
National Labor Relations Board                       Preliminary Injunction Opening
                                                     Brief Due
Marvin E. Kaplan                                     Preliminary Injunction Opening
                                                     Brief Due
William Cowen                                        Preliminary Injunction Opening
                                                     Brief Due
National Science Foundation                          Preliminary Injunction Opening
                                                     Brief Due
Brian Stone                                          Preliminary Injunction Opening
                                                     Brief Due
United States Small Business Administration          Preliminary Injunction Opening
                                                     Brief Due
Kelly Loeffler                                       Preliminary Injunction Opening
                                                     Brief Due
Social Security Administration                       Preliminary Injunction Opening
                                                     Brief Due
Leland Dudek                                         Preliminary Injunction Opening
                                                     Brief Due

Monday, July 7, 2025
American Federation Of Government Employees, Preliminary Injunction Answering
AFL-CIO                                      Brief Due
                  Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 8 of 9

American Federation Of State County And             Preliminary Injunction Answering
Municipal Employees, AFL-CIO                        Brief Due
Service Employees International Union               Preliminary Injunction Answering
                                                    Brief Due
American Federation of Government Employees         Preliminary Injunction Answering
Local 1122                                          Brief Due
American Federation of Government Employees         Preliminary Injunction Answering
Local 1236                                          Brief Due
American Federation of Government Employees         Preliminary Injunction Answering
Local 2110                                          Brief Due
American Federation of Government Employees         Preliminary Injunction Answering
Local 3172                                          Brief Due
Service Employees International Union, Local        Preliminary Injunction Answering
1000                                                Brief Due
Alliance for Retired Americans                      Preliminary Injunction Answering
                                                    Brief Due
American Geophysical Union                          Preliminary Injunction Answering
                                                    Brief Due
American Public Health Association                  Preliminary Injunction Answering
                                                    Brief Due
Center for Taxpayer Rights                          Preliminary Injunction Answering
                                                    Brief Due
Coalition to Protect Americas National Parks        Preliminary Injunction Answering
                                                    Brief Due
Common Defense Civic Engagement                     Preliminary Injunction Answering
                                                    Brief Due
Main Street Alliance                                Preliminary Injunction Answering
                                                    Brief Due
Natural Resources Defense Council, Inc.             Preliminary Injunction Answering
                                                    Brief Due
Northeast Organic Farming Association, Inc.         Preliminary Injunction Answering
                                                    Brief Due
VoteVets Action Fund, Inc.                          Preliminary Injunction Answering
                                                    Brief Due
Western Watersheds Project                          Preliminary Injunction Answering
                                                    Brief Due
                    Case: 25-3030, 05/09/2025, DktEntry: 2.1, Page 9 of 9

County of Santa Clara                                  Preliminary Injunction Answering
                                                       Brief Due
City of Chicago                                        Preliminary Injunction Answering
                                                       Brief Due
County of Martin Luther King, Jr.,                     Preliminary Injunction Answering
                                                       Brief Due
County of Harris                                       Preliminary Injunction Answering
                                                       Brief Due
City of Baltimore                                      Preliminary Injunction Answering
                                                       Brief Due
City and County of San Francisco                       Preliminary Injunction Answering
                                                       Brief Due


If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
